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                               EXHIBIT I


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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     Investigating the Impact of
     Pretrial Detention on Sentencing Outcomes

    Christopher T. Lowenkamp, Ph.D.

    Marie VanNostrand, Ph.D.

    Alexander Holsinger, Ph.D.




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EXECUTIVE SUMMARY



I  n the criminal justice system, the time between arrest and case
   disposition is known as the pretrial stage. Each time a person is arrested
and accused of a crime, a decision must be made as to whether the accused
                                                                                         R EP ORT HIG HLIG H T S :

                                                                                            Compared to defendants released
person, known as the defendant, will be detained in jail awaiting trial or                  at some point pending trial,
will be released back into the community. But pretrial detention is not
                                                                                            defendants detained for the entire
simply an either-or proposition; many defendants are held for a number
of days before being released at some point before their trial.                             pretrial period are more likely to be
                                                                                            sentenced to jail or prison – and for
The release-and-detention decision takes into account a number of
different concerns, including protecting the community, the need                            longer periods of time.
for defendants to appear in court, and upholding the legal and
constitutional rights afforded to accused persons awaiting trial. It carries                Detained defendants are over four
enormous consequences not only for the defendant but also for the safety                    times more likely to be sentenced
of the community.                                                                           to jail and over three times more
Little is known about the impact of pretrial detention on sentencing                        likely to be sentenced to prison than
outcomes. The limited research indicates that pretrial detention is related                 defendants who are released at
to the type and length of sentence received. While little is known about
                                                                                            some point pending trial.
the impact of pretrial detention on felony sentence length, even less is
known about the impact on the sentencing of misdemeanants.
                                                                                            Sentences for detained defendants
Data on 153,407 defendants booked into a jail in Kentucky between                           are also significantly longer: Jail
July 1, 2009, and June 30, 2010, were used to answer one broad research                     sentences are nearly three times as
objective: Investigate the relationship between pretrial detention and
                                                                                            long, and prison sentences are more
sentencing. Depending on the associated research question, subsamples
of cases were drawn from this larger dataset of 153,407 defendants.                         than twice as long.

Multivariate models were generated that controlled for relevant factors
including risk level, supervision status, offense type, offense level, time
at risk in the community, demographics, and other factors. Two critical
findings related to the impact of pretrial detention were revealed.




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1. Pretrial Detention and Sentence to Jail and Prison — Defendants who are detained for the entire pretrial
   period are much more likely to be sentenced to jail and prison. Low-risk defendants who are detained for
   the entire pretrial period are 5.41 times more likely to be sentenced to jail and 3.76 times more likely to
   be sentenced to prison when compared to low-risk defendants who are released at some point before trial
   or case disposition. Moderate and high-risk defendants who are detained for the entire pretrial period are
   approximately 3 times more likely to be incarcerated than similar defendants who are released at some
   point.

2. Pretrial Detention and Length of Sentence to Jail and Prison — Defendants who are detained for
   the entire pretrial period receive longer jail and prison sentences. While the effects for all risk levels are
   substantial and significant, the largest effects are seen for low-risk defendants.1




1    As a caveat, the empirical strategy here cannot definitively prove causation – after all, it is possible that defendants who are detained
    for the entire pretrial period are different in significant and unmeasured ways from other defendants. Still, the findings here are
    striking and show the need for more empirical research to determine exactly which defendants actually need to be detained.




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INTRODUCTION

In the criminal justice system, the time between arrest and case disposition is known as the pretrial stage. Each
time a person is arrested and accused of a crime, a decision must be made as to whether the accused, known as
the defendant, will be detained in jail pending trial or released back into the community. But pretrial detention
is not simply an either-or proposition; many defendants are held for a number of days before being released at
some point before their trial.

The decision to detain or release is a crucial one in which courts must take into account public safety, the need
for defendants to appear in court, and the legal and constitutional rights afforded to accused persons awaiting
trial. Protecting these interests in a just manner has been the subject of research for most of the previous century
(see, for example, Beeley, 1927; Foote, 1954 & 1958; and Ares, Rankin, & Sturz, 1963; Wice, 1974).

Deciding whether to release a defendant pending trial has obvious implications for public safety. It also impacts
certain legal and constitutional rights of defendants, including their right to defend themselves (Leipold, 2005).
One underdeveloped area of research is the impact of pretrial detention on sentencing. The limited research
indicates that detention for the entire pretrial period is related to the type and length of sentence received (Freed
and Wald, 1964; Schlesinger, 2005 & 2007; Wooldredge 2012). Ulmer (2012), in a recent and thorough
review of research on sentencing, notes the long-time call for research to take into account the impact of earlier
decisions on sentence severity. Ulmer also reviews only two studies that explicitly consider the impact of pretrial
detention on sentence length. Both of these studies, and the previously cited studies, focus exclusively on
defendants charged with felony offenses. While little is known about the impact of pretrial detention on felony
sentence length, even less is known about the impact of pretrial detention on the sentencing of misdemeanants
(Frase, 2009).

The current study is a necessary addition to the extant research, as it seeks to better understand the link between
pretrial detention and the likelihood of sentence to incarceration, as well as sentence length for both felons and
misdemeanants.


Study Description
The current study investigates the impact of pretrial detention on sentencing outcomes for both misdemeanors
and felonies.




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Research Objectives and Questions
The study includes one research objective: Investigate the relationship between pretrial detention and sentencing.
There are eight related research questions as shown below.

      1. Is pretrial detention related to the likelihood of being sentenced to incarceration in jail?
      2. Do the observed effects of pretrial detention related to being sentenced to jail differ for sub-populations
         of defendants?
      3. Is pretrial detention related to length of jail incarceration ordered at sentencing?
      4. Do the observed effects of pretrial detention related to the length of sentence to jail differ for sub-
         populations of defendants?
      5. Is pretrial detention related to the likelihood of being sentenced to incarceration in prison?
      6. Do the observed effects of pretrial detention related to being sentenced to prison differ for sub-
         populations of defendants?
      7. Is pretrial detention related to length of prison incarceration ordered at sentencing?
      8. Do the observed effects of pretrial detention related to the length of sentence to prison differ for sub-
         populations of defendants?

Dataset
The sample used for the current study includes all defendants arrested and booked into a Kentucky jail between
July 1, 2009, and June 30, 2010. This led to a working sample size of 153,407. The dataset does not represent
unique individuals, but rather includes all bookings within the study period. (Some individuals were booked
multiple times within the timeframe; calculating a unique count of individuals could not be performed
reliably, as unique identifiers were missing in almost 10% of the cases.) All cases in the sample reached final
case disposition. These data served as the sample of defendants used to respond to the research objective.
Depending on the associated research question, subsamples of cases were drawn from this larger dataset of
153,407 defendants.

The measures in this study included the following:

      §      defendant demographics;
      §      defendant risk;
      §      offense characteristics including offense level (e.g., felony or misdemeanor) as well as felony offense
             class (A, B, C, D) for some analyses;
      §      details of pretrial status (released or detained, and length of detention);
      §      sentence imposed (if the defendant was found or pled guilty).

Methodology
Bivariate and multivariate models were used to complete the analysis. Most commonly used was logistic regression
modeling, a procedure designed for what is generally referred to as a dichotomous or binary outcome variable.
(Recidivism, for example, is typically considered either a “yes” or “no” outcome, regardless of measurement
procedure.) Logistic regression, like many types of regression, allows for several variables to be entered into a
model while statistically controlling for the effects of other variables. Generally, when a multivariate model is
conducted, the variable of interest is highlighted (e.g., the effect of pretrial detention, or the length of pretrial
detention) while controlling for the effects of other variables (such as age, race, gender, risk level, and the like).




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Also incorporated in the analysis are Poisson regression models, which are typically used when the outcome
variable is a discrete count (e.g., the number of months someone is sentenced to prison or jail, or the number of
times someone is arrested). Counts tend to be distributed in such a way that the assumptions of linear regression
are violated; therefore, an adjustment in modeling is required. Poisson regression, like logistic regression and
other types of regression, allows for several variables to be entered into a model while statistically controlling for
the effects of other variables. This allows for the examination of the effect of one or more variables of interest
(e.g., pretrial detention and/or the length of pretrial detention).

The county of case origin, although not shown in any of the multivariate tables published here, was included
in every multivariate model constructed and estimated. Robust standard error estimates were developed with
clustering at the county level and were used in all multivariate analyses.




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SAMPLE DESCRIPTION

The dataset described above, including 153,407 records representing all defendants arrested and booked into a
Kentucky jail between July 1, 2009, and June 30, 2010, was used for the analysis.

There are 120 counties and 84 local jails in Kentucky. Table A-1 (see Appendix A) provides a jail-by-jail
breakdown, identified by county location, and the number of cases originating from each jail. The number of
cases is presented (N), as well as the percentage of the total that each jail comprises. The vast majority of jails
contributed 3% or less of the total sample, with the noted exception of Jefferson County (approximately 19%)
and Fayette County (approximately 7%).


Demographics
Table 1 presents descriptive information for the entire state sample, grouped in two categories, or models
(Felony and Misdemeanor). Taken as a whole, the sample is approximately 26% female, 74% male, 79% white,
17% black, and 4% hispanic. The average age is approximately 33, and approximately 20% reported being
married. With few exceptions, the different samples used to answer the different research questions tend to be
very similar.


Offense Information
Table 1 also presents the original offense types1 for the entire sample and each sub-sample used for the different
research questions. Generally, drug, traffic, theft, and driving under the influence appear to be the most frequent
offense types across the two samples. The Felony model had a higher percentage of violent offenses (9%) than
the Misdemeanor model (3%).


Risk Level
Kentucky currently uses a research-based and validated assessment tool (Kentucky Pretrial Risk Assessment
[KPRA]) to assess the risk of pretrial failure (FTA and NCA). The KPRA consists of 12 risk factors, including
measures of offense class, criminal justice status, criminal history, failure to appear, and community stability,
with each risk factor having a corresponding weight (or points). The weights are summed for a total risk score.
The risk scores are categorized into three levels of risk — low, moderate, and high. For the sample, the largest
risk category was low risk, with 53% to 67% falling into that level across the five models. The moderate risk
level ranged between 29% and 40%, and the high risk level ranged between 3% and 7%. The sample of cases
that make up the felony sentencing models are, relative to the other samples, higher risk.

1    It is important to note that defendants could contribute more than one offense to the offense type categorizations.


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Days in Pretrial Detention
Table 1 also presents information across the two models regarding days spent in pretrial detention. Cases in the
Felony model had an average of 35 days in pretrial detention, while cases in the Misdemeanor model had just
7 days. Both models included defendants who were released as well as those who were detained for the entire
pretrial period.


Outcomes
The outcome is the sentence received (in months) for the Felony and Misdemeanor models (10.19 months and
0.49 months, respectively).

                                         Table 1. Descriptive Statistics for Two Models

                                                          FELONY MODEL                  MISDEMEANOR MODEL
                                                                            _                            _
                                                         N             % OR X̅             N        % OR X̅
                   Age                                  47563           33.17            98165             33.59
                   Female                               47514           24.77            98168             26.51
                   White                                47360           78.07            97293             80.61
                   Black                                47360           20.73            97293             16.57
                   Hispanic                             40713            2.69            88557             6.31
                   Married                              46931           19.33            95345             20.58
                   Risk Level
                        Low                             37249           53.48            65501             65.37
                        Moderate                        37249           39.54            65501             30.57
                        High                            37249            6.98            65501             4.05
                   Offense Type
                        Drugs                           47637           17.56            98460             17.56
                        Violent                         47637            9.28            98460             2.72
                        Domestic Violence               47637            3.14            98460             9.03
                        Sex Offense                     47637            1.82            98460             0.92
                        Firearm                         47637            4.39            98460             1.05
                        Theft                           47637           33.58            98460             13.97
                        Traffic                         47637           11.77            98460             35.24
                        Driving Under the Influence     47637            6.77            98460             26.86
                        Felony                          47637          100.00            98460             0.00
                   Days Spent In Detention
                        1 Day                           46943           13.74            97522             40.32
                        2 to 3 Days                     46943           22.13            97522             37.34
                        4 to 7 Days                     46943           11.58            97522             9.19
                        8 to 14 Days                    46943           18.20            97522             5.92
                        15 to 30 Days                   46943            8.96            97522             3.60
                        31+ Days                        46943           25.38            97522             3/63
                   Mean Days                            46943           35.07            97522             7.01
                   Detained Pretrial Yes/No             47637           33.75            98460             22.08
                   Sentence in Months                   47637           10.19            98460             0.49




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RESEARCH OBJECTIVE:
    Investigate the relations between pretrial detention and sentencing




Research Questions
      1. Is pretrial detention related to the likelihood of being sentenced to incarceration in jail?

      2. Do the observed effects of pretrial detention related to being sentenced to jail differ for sub-populations
         of defendants?

      3. Is pretrial detention related to length of jail incarceration ordered at sentencing?

      4. Do the observed effects of pretrial detention related to the length of sentence to jail differ for sub-
         populations of defendants?

      5. Is pretrial detention related to the likelihood of being sentenced to incarceration in prison?

      6. Do the observed effects of pretrial detention related to being sentenced to prison differ for sub-
         populations of defendants?

      7. Is pretrial detention related to length of prison incarceration ordered at sentencing?

      8. Do the observed effects of pretrial detention related to the length of sentence to prison differ for sub-
         populations of defendants?


Primary Findings
Being detained for the entire pretrial period is related to the likelihood of being sentenced to jail and prison, as
well as the length of the sentence. When other relevant statistical controls are considered, defendants detained
until trial or case disposition are 4.44 times more likely to be sentenced to jail and 3.32 times more likely to
be sentenced to prison than defendants who are released at some point pending trial. The jail sentence is 2.78
times longer for defendants who are detained for the entire pretrial period, and the prison sentence is 2.36
times longer. 2

When examining sub-populations, the relationship between pretrial detention and sentence to jail and prison,
and the length of the sentence, is significant for all risk levels of defendants but even more pronounced for low-
risk defendants.


2    The IRR, in technical terms, captures the ratio of the rate of the dependent variable given a change in the independent variable



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      §     Low-risk defendants detained for the entire pretrial period are 5.41 times more likely to be sentenced
            to jail when compared to low-risk defendants who are released at some point pending trial. Moderate-
            and high-risk defendants detained for the entire pretrial period are approximately 4 and 3 times
            (respectively) more likely to be sentenced to jail than their released counterparts.

      §     The effect of pretrial detention on jail sentence length is also significant. Jail sentences are 2 to 3.5 times
            longer for those who are detained until trial or disposition, depending on the risk level of the defendant.

      §     Low-risk defendants who are detained for the entire pretrial period are 3.76 times more likely to be
            sentenced to prison when compared to low-risk defendants who are released; moderate- and high-risk
            defendants are roughly 3 times as likely.

      §     The effect of pretrial detention on prison sentence length was most significant for low-risk defendants.
            Prison sentences were 2.84 times longer for low-risk defendants who were detained for the entire
            pretrial period. For detained moderate- and high-risk defendants, prison sentences were roughly 2
            times longer.


Methods and Analysis Results
Descriptive statistics, bivariate models, and multivariate models (e.g., logistic regression and Poisson regression
models) were constructed to investigate these questions. Control variables included pretrial release and
detention, supervision status, defendant risk level, offense type, offense class, and demographics. The analysis
was repeated for sub-populations of defendants (i.e., gender, race, and risk level).




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                                                   RESEARCH QUESTION 1A


                             Is pretrial detention related to the likelihood of being
                                        sentenced to incarceration in jail?

Table 2 presents a logistic regression model that was calculated to predict whether misdemeanor defendants
were sentenced to jail. Whether a defendant was detained for the entire pretrial period was the primary variable
of interest while control variables included age, gender, race, ethnicity, marital status, supervision status, risk
level, offense type, and offense class. According to the odds ratio for pretrial detention, being detained until
trial or case disposition was a significant and strong predictor of the likelihood of being sentenced to jail while
controlling for the effects of all other variables in the model. Specifically, when other relevant statistical controls
are considered, defendants detained for the entire pretrial period were 4.44 times more likely to be sentenced to
jail when compared to defendants who were released at some point pending trial.



                  Table 2. Logistic Regression Model Predicting Jail Sentence (Yes/No)

                                                      ODDS RATIO             P           LOWER 95%         UPPER 95%
                                                                                            CI                 CI
            Age                                           1.00             0.00              1.00              1.00
            Female                                        0.81             0.00              0.78              0.85
            White                                         1.12             0.25              0.93              1.35
            Black                                         1.14             0.19              0.94              1.39
            Hispanic                                      0.90             0.12              0.79              1.03
            Married                                       0.86             0.00              0.82              0.91
            On Probation or Parole                        1.27             0.00              1.20              1.35
            Risk Level (Reference = Low Risk)
                  Moderate                                1.54             0.00              1.47              1.61
                  High                                    1.70             0.00              1.54              1.87
            Offense Type
                  Drugs                                   0.92             0.01              0.87              0.98
                  Violent                                 0.82             0.00              0.72              0.93
                  Domestic Violence                       0.83             0.00              0.76              0.89
                  Sex Offense                             1.93             0.03              1.07              3.48
                  Firearm                                 1.47             0.00              1.23              1.76
                  Theft                                   1.32             0.00              1.23              1.41
                  Traffic                                 0.70             0.00              0.66              0.73
                  Driving Under the Influence             2.48             0.00              2.35              2.62
                  Offense Class A                         1.27             0.00              1.21              1.34
            Detained Pretrial                             4.44             0.00              4.23              4.67
            Constant                                      0.08             0.00              0.06              0.12
                  N = 55,712; Pseudo-R = 0.13  2




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                                                RESEARCH QUESTION 1B



                     Do the observed effects of pretrial detention related to
                 being sentenced to jail differ for sub-populations of defendants?

Table 3 presents the results of logistic regression models that predicted a sentence to jail for misdemeanants using
pretrial detention until trial or case disposition as the main predictor of interest while controlling for all other
aforementioned variables’ effects. Several models were calculated based on sub-group (i.e., white, black, male,
female, low risk, moderate risk, and high risk). For each model, being detained for the entire pretrial period
was a statistically significant and strong predictor of being sentenced to jail. The effect was strongest for low-risk
defendants but still significant and substantial for high-risk defendants. The effects for all other subgroups fell
between the two. Low-risk defendants detained for the entire pretrial period were 5.41 times more likely to be
sentenced to jail when compared to low-risk defendants who were released at some point pending trial.



              Table 3. Odds Ratios for Pretrial Detention Predicting Jail for Subgroups
             SUBGROUP                          ODDS RATIO              P           LOWER 95% CI         UPPER 95% CI
             White                                4.44               0.00                4.21                4.69
             Black                                4.50               0.00                4.02                5.02
             Male                                 4.38               0.00                4.14                4.63
             Female                               4.66               0.00                4.21                5.16
             Risk Level
             Low                                  5.41               0.00                5.04                5.80
             Moderate                             3.77               0.00                3.50                4.06
             High                                 3.11               0.00                2.57                3.76




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                                                    RESEARCH QUESTION 1C


                                           Is pretrial detention related to length of
                                          jail incarceration ordered at sentencing?

Table 4 presents the results of a Poisson regression model designed to determine the effects of being detained
for the entire pretrial period on the length of the jail sentence received for misdemeanor defendants. The model
controlled for age, gender, race, ethnicity, marital status, supervision status, risk level, offense type, and offense
class. While controlling for the effects of all other predictors in the model, defendants detained for the entire
pretrial period received jail sentences that were 2.78 times longer than sentences received by defendants who
were released at some point.

                             Table 4. Poisson Model with Correction for Overdispersion
                                           Predicting Jail Sentence Length

                                                         IRR                   P           LOWER 95% CI       UPPER 95% CI
             Age                                        1.00                 0.54                1.00               1.00
             Female                                     0.79                 0.00                0.75               0.84
             White                                      1.13                 0.22                0.93               1.39
             Black                                      1.18                 0.06                0.99               1.40
             Hispanic                                   0.91                 0.26                0.78               1.07
             Married                                    0.92                 0.00                0.88               0.97
             On Probation or Parole                     1.28                 0.00                1.20               1.37
             Risk Level (Reference = Low Risk)
                   Moderate                             1.48                 0.00                1.38               1.60
                   High                                 1.73                 0.00                1.51               1.99
             Offense Type
                   Drugs                                0.88                 0.15                0.74               1.05
                   Violent                              0.82                 0.02                0.70               0.97
                   Domestic Violence                    0.89                 0.24                0.73               1.08
                   Sex Offense                          2.91                 0.00                1.81               4.68
                   Firearm                              1.08                 0.42                0.89               1.32
                   Theft                                1.30                 0.00                1.18               1.43
                   Traffic                              0.77                 0.00                0.72               0.81
                   Driving Under the Influence          1.68                 0.00                1.38               2.06
                   Offense Class A                      1.72                 0.00                1.58               1.87
             Detained Pretrial                          2.78                 0.00                2.46               3.13
             Constant                                   0.11                 0.00                0.09               0.15
             N = 55,712;        =1.45




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                                                      RESEARCH QUESTION 1D


                  Do the observed effects of pretrial detention related to
          the length of sentence to jail differ for sub-populations of defendants?

Table 5 presents Poisson models3 where the effects of pretrial detention on jail sentence length for pretrial
defendants are isolated for several subgroups of defendants (white, black, male, female, low risk, moderate risk,
and high risk). For all subgroups, being detained for the entire pretrial period resulted in a significantly longer
sentence to jail when compared to defendants released at some point pretrial. While significant and substantial
for all three categories of risk, the effect of pretrial detention on sentence length appeared to be strongest for
low-risk defendants. (The jail sentence was 3.49 times longer for low-risk defendants who were detained for the
entire pretrial period.)



                                  Table 5. Incidence Rate Ratios for Pretrial Detention
                                     Predicting Jail Sentence Length by Subgroup


                                               IRR           P                LOWER 95% CI       UPPER 95% CI
                              White            2.84          0.00             2.56               3.14
                              Black            2.56          0.00             1.95               3.34
                              Male             2.77          0.00             2.42               3.16
                              Female           2.77          0.00             2.46               3.13
                              Risk Level
                              Low              3.49          0.00             2.96               4.10
                              Moderate         2.26          0.00             2.01               2.55
                              High             2.22          0.00             1.88               2.63




3    Poisson models with corrections for over dispersion.




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                                                    RESEARCH QUESTION 1E


                                     Is pretrial detention related to the likelihood
                                    of being sentenced to incarceration in prison?

Table 6 presents a logistic regression model that was calculated to predict whether felony defendants
were sentenced to prison. Whether a defendant was detained for the entire pretrial period was the
primary variable of interest while control variables included age, gender, race, ethnicity, marital status,
supervision status, risk level, offense type, and offense class. Being detained until trial or case disposition
revealed a statistically significant and strong relationship with being sentenced to prison. Specifically,
when other relevant statistical controls are considered, defendants detained for the entire pretrial period
are 3.32 times more likely to be sentenced to prison than defendants who are released at some point.


               Table 6. Logistic Regression Model Predicting Prison Sentence (Yes/No)

                                                       ODDS RATIO             P          LOWER 95% CI        UPPER 95% CI
               Age                                         1.00              0.17              0.99                1.00
               Female                                      0.79              0.00              0.71                0.88
               White                                       1.11              0.47              0.84                1.47
               Black                                       1.10              0.52              0.83                1.46
               Hispanic                                    0.76              0.05              0.58                1.00
               Married                                     0.84              0.00              0.77                0.91
               On Probation or Parole                      1.30              0.00              1.20                1.40
               Risk Level (Reference = Low Risk)
                      Moderate                             1.32              0.00              1.19                1.46
                      High                                 1.59              0.00              1.31                1.94
               Offense Type
                      Drugs                                1.36              0.00              1.12                1.66
                      Violent                              1.46              0.00              1.32                1.61
                      Domestic Violence                    1.78              0.00              1.32                2.39
                      Sex Offense                          1.64              0.00              1.34                2.00
                      Firearm                              1.17              0.01              1.04                1.31
                      Theft                                1.37              0.00              1.24                1.51
                      Traffic                              1.02              0.67              0.94                1.11
                      Driving Under the Influence          1.78              0.00              1.49                2.12
               Offense Class
                      C                                    1.10              0.26              0.94                1.29
                      B                                    0.94              0.52              0.78                1.13
                      A                                    1.45              0.01              1.08                1.96
               Detained Pretrial                           3.32              0.00              3.04                3.63
               Constant                                    0.20              0.00              0.15                0.27
                                                     N = 32,258; Pseudo-R2 = 0.11




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                                                         RESEARCH QUESTION 1F


                   Do the observed effects of pretrial detention related to
             being sentenced to prison differ for sub-populations of defendants?

The analysis discussed in Research Question 2 was replicated using sentence to prison for felony defendants as
the dependent variable. The models used to address this question once again controlled for the effects of other
predictors, but this time separate models were created for each of the subgroups of interest. As displayed in
Table 7, those detained for the entire pretrial period were significantly more likely to be sentenced to prison. The
effect of pretrial detention was strongest for low-risk defendants, but the impact was significant and large for
defendants at all risk levels. Low-risk defendants who were detained until trial or case disposition were 3.76
times more likely to be sentenced to prison than low-risk defendants who were released at some point pending
trial. Detained moderate- and high-risk defendants were about 3 times more likely to be sentenced to prison
than similar defendants who were released at some point pretrial.



            Table 7. Odds Ratios for Pretrial Detention Predicting Prison for Subgroups

                      SUBGROUP                 ODDS RATIO          P             LOWER 95% CI             UPPER 95% CI

              White                               3.37           0.00                  3.05                    3.71
              Black                               3.11           0.00                  2.83                    3.42
              Male                                3.29           0.00                  2.99                    3.62
              Female                              3.50           0.00                  3.09                    3.95
              Risk Level
                 Low                              3.76           0.00                  3.32                    4.27
                 Moderate                         3.20           0.00                  2.91                    3.53
                 High                             2.90           0.00                  2.50                    3.36




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                                                  RESEARCH QUESTION 1G


                                    Is pretrial detention related to length of prison
                                         incarceration ordered at sentencing?

The analysis discussed in Research Question 3 was replicated using prison sentence length for felony defendants
as the dependent variable. As can be seen in Table 8, being detained for the entire pretrial period was a
statistically significant predictor of increased prison sentences while controlling for all other predictors in
the model.



        Table 8. Poisson Model with Overdispersion Predicting Prison Sentence Length

                                                    IRR                 P              LOWER 95% CI             UPPER 95% CI
       Age                                          1.00               0.54                  1.00                    1.01
       Female                                       0.68               0.00                  0.58                    0.79
       White                                        1.50               0.05                  1.00                    2.26
       Black                                        1.74               0.01                  1.13                    2.68
       Hispanic                                     0.59               0.02                  0.38                    0.92
       Married                                      0.95               0.48                  0.84                    1.09
       On Probation or Parole                       1.57               0.00                  1.45                    1.71
       Risk Level
       (Reference = Low Risk)
              Moderate                              1.78               0.00                  1.60                    1.99
              High                                  2.35               0.00                  1.88                    2.95
       Offense Type
              Drugs                                 1.29               0.01                  1.07                    1.56
              Violent                               1.09               0.19                  0.96                    1.23
              Domestic Violence                     0.69               0.00                  0.56                    0.86
              Sex Offense                           2.31               0.00                  1.80                    2.96
              Firearm                               1.13               0.35                  0.87                    1.47
              Theft                                 1.36               0.00                  1.23                    1.51
              Traffic                               0.82               0.13                  0.63                    1.06
              Driving Under the Influence           0.97               0.83                  0.74                    1.28
       Offense Class
              C                                     2.26               0.00                  1.95                    2.63
              B                                     3.75               0.00                  3.31                    4.25
              A                                     6.73               0.00                  5.63                    8.04
       Detained Pretrial                            2.36               0.00                  2.10                    2.65
       Constant                                     2.20               0.00                  1.39                    3.49
      N = 32,258




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                                                 RESEARCH QUESTION 1H


            Do the observed effects of pretrial detention related to the length of
                sentence to prison differ for sub-populations of defendants?

The analyses discussed in Research Question 4 were replicated for felony defendants with the effects of pretrial
detention on prison sentence length isolated for each of several subgroups of defendants (white, black, male,
female, low risk, moderate risk, and high risk). As can be seen in Table 9, detention for the entire pretrial
period appears to result in statistically longer sentences to prison while controlling for all other variables in the
model. The effects appear to be strongest for detained low-risk defendants, whose prison sentences in months
were 2.84 times longer than their released counterparts. The effects appear to be weakest for black defendants,
with the effects for all other subgroups falling between.



                                  Table 9. Incidence Rate Ratios for Pretrial Detention
                                    Predicting Prison Sentence Length by Subgroup

                                                                               LOWER        UPPER
                                                            IRR        P
                                                                               95% CI       95% CI
                                    White                  2.44      0.00        2.17         2.74
                                    Black                  1.99      0.00        1.66         2.40
                                    Male                   2.39      0.00        2.11         2.69
                                    Female                 2.45      0.00        2.02         2.98
                                    Risk Level
                                      Low                  2.84      0.00        2.41         3.33
                                      Moderate             2.15      0.00        1.91         2.43
                                      High                 2.32      0.00        1.75         3.06




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APPENDIX


Appendix A: Table A-1

 JAIL BY COUNTY     N        %     JAIL BY COUNTY     N          %     JAIL BY COUNTY     N       %

ADAIR             721      0.47   GRANT             1,034    0.67     MCCREARY          674     0.44
ALLEN             586      0.38   GRAVES            1,513    0.99     MEADE             570     0.37
BALLARD           392      0.26   GRAYSON           985      0.64     MONROE            276     0.18
BARREN            1,879    1.22   GREENUP           847      0.55     MONTGOMERY        1,519   0.99
BELL              1,480    0.96   HARDIN            3,072    2        MUHLENBERG        908     0.59
BOONE             3,823    2.49   HARLAN            1,757    1.15     NELSON            1,044   0.68
BOURBON           736      0.48   HART              556      0.36     OHIO              793     0.52
BOYD              2,318    1.51   HENDERSON         2,187    1.43     OLDHAM            920     0.6
BOYLE             1,592    1.04   HICKMAN           158      0.1      PERRY             1,596   1.04
BRECKINRIDGE      561      0.37   HOPKINS           2,045    1.33     PIKE              2,814   1.83
BULLITT           1,964    1.28   JACKSON           405      0.26     POWELL            726     0.47
BUTLER            296      0.19   JEFFERSON         28,578   18.63    PULASKI           2,246   1.46
CALDWELL          526      0.34   JESSAMINE         2,087    1.36     ROCKCASTLE        846     0.55
CALLOWAY          803      0.52   JOHNSON           3,461    2.26     ROWAN             1,387   0.9
CAMPBELL          2,997    1.95   KENTON            6,942    4.53     RUSSELL           449     0.29
CARROLL           1,753    1.14   KNOX              1,358    0.89     SCOTT             1,013   0.66
CARTER            1,094    0.71   LARUE             328      0.21     SHELBY            1,762   1.15
CASEY             527      0.34   LAUREL            2,455    1.6      SIMPSON           685     0.45
CHRISTIAN         3,672    2.39   LEE               1,342    0.87     TAYLOR            1,013   0.66
CLARK             1,277    0.83   LESLIE            388      0.25     TODD              320     0.21
CLAY              1,080    0.7    LETCHER           869      0.57     UNION             531     0.35
CLINTON           250      0.16   LEWIS             295      0.19     WARREN            4,804   3.13
CRITTENDEN        291      0.19   LINCOLN           924      0.6      WAYNE             474     0.31
DAVIESS           3,541    2.31   LOGAN             866      0.56     WEBSTER           422     0.28
ESTILL            431      0.28   MADISON           2,521    1.64     WHITLEY           1,690   1.1
FAYETTE           11,595   7.56   MARION            925      0.6      WOODFORD          484     0.32
FLOYD             1,621    1.06   MARSHALL          755      0.49
FRANKLIN          2,212    1.44   MASON             1,319    0.86
FULTON            472      0.31   MCCRACKEN         2,979    1.94
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Appendix B: References


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